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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                            *
UNITED STATES OF AMERICA                    *
                                            *
                                            *
v.                                          *      Case No.: RWT 04cr235
                                            *
                                            *
LAVON DOBIE                                 *
                                            *


                                           ORDER

       Due to the Court’s weather-related closure on October 29-30, 2012, it is this 2nd day of

November 2012, by the United States District Court for the District of Maryland,

       ORDERED, that the resentencing and motions hearing scheduled for October 29, 2012 is

hereby RESCHEDULED for November 20, 2012 at 11:00 a.m.



                                                                    /s/
                                                             ROGER W. TITUS
                                                      UNITED STATES DISTRICT JUDGE
